         Case 1:18-cr-00032-DLF Document 312 Filed 01/22/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
               v.
                                                          1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC,                                           FILED UNDER SEAL

       Defendant.


        DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
           MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”),

through counsel, respectfully moves for leave of Court to file partially under seal its Reply in

Support of its Motion to Quash Unserved Early Return Trial Subpoena and Opposition to the

Government’s Renewed Motion for Early Return Trial Subpoena (Concord’s “Reply”). See ECF

No. 311. In support of this motion, Concord states as follows:

       Portions of the Reply refer generally to information contained in the discovery materials

the government has designated as U.S. Sensitive pursuant to the Revised Protective Order. See

ECF No. 189. One additional sentence quotes from a portion of the government’s Opposition to

Motion to Quash and Reply in Support of Opposition to Motion for Early Return Trial Subpoena.

ECF No. 306. Accordingly, Concord seeks to redact these references from the publicly filed

version of its Reply and file an unredacted version of the Reply under seal.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the
         Case 1:18-cr-00032-DLF Document 312 Filed 01/22/20 Page 2 of 3




decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       A proposed order is filed herewith.

Dated: January 22, 2020                             Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                               By: /s/ Eric A. Dubelier
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         Case 1:18-cr-00032-DLF Document 312 Filed 01/22/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2020, I caused a true and correct copy of the

foregoing Motion for Leave to File Partially Under Seal to be filed under seal via CM/ECF and

transmitted to the following counsel of record via electronic mail:


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